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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

 ROGER KAHN, PAUL OPSOMMER,
 JOSEPH HAVEMAN, DAVID E. NATHAN,
 SCOTT DIANDA, CLARK HARDER, Case No.
 MARY VALENTINE, and DOUGLAS
 SPADE,                           Hon.

 Plaintiffs,

 vs.
                                          COMPLAINT FOR DECLARATORY
 JOCELYN BENSON, in her official capacity RELIEF   AND A  PERMANENT
 as Secretary of State,                   INJUNCTION

 Defendant.


        Plaintiffs Roger Kahn, Scott Dianda, Clark Harder, Joseph Haveman, David E. Nathan,

Paul Opsommer, Douglas Spade, and Mary Valentine are Democrat and Republican former

members of the Michigan Legislature who, with one exception, are now barred from running for

their prior offices due to the term limits in Michigan’s Constitution. Those term limits—the

shortest in the nation and paired with a lifetime ban—violate Plaintiffs’ federal constitutional rights

and ensure a legislative body lacking experience, the quality that James Madison singled out in

The Federalist Papers as essential to a competent and well-functioning legislature:

        No man can be a competent legislator who does not add to an upright intention and
        a sound judgment a certain degree of knowledge of the subjects on which he is to
        legislate. A part of this knowledge may be acquired by means of information which
        lie within the compass of men in private as well as public stations. Another part can
        only be attained, or at least thoroughly attained, by actual experience in the station
        which requires the use of it. . . . The greater the proportion of new members, and
        the less the information of the bulk of the members the more apt will they be to fall
        into the snares that may be laid for them. [James Madison, Federalist No. 53 (1788)
        (emphasis added)].

        Plaintiffs bring their Complaint for declaratory and injunctive relief against Defendant

Jocelyn Benson, in her official capacity as Secretary of State, and allege as follows:
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                                         INTRODUCTION

        1.      This civil rights action is brought pursuant to 42 U.S.C. § 1983 to vindicate rights

secured by the First and Fourteenth Amendments to, and the Guarantee Clause of, the United States

Constitution.

        2.      In 1992, voters amended the Michigan Constitution to impose the most severe term

limits for state legislative office in the nation. In so doing, the State of Michigan created a system

that wrongfully excludes qualified candidates like Plaintiffs from appearing on the state legislative

ballot while denying an undetermined number of voters the opportunity to vote for the candidates

of their choice.

        3.      Restrictions on access to the ballot burden two distinct and fundamental rights: “the

right of individuals to associate for the advancement of political beliefs, and the right of qualified

voters, regardless of their political persuasion, to cast their votes effectively.” Illinois State Bd. of

Elections v Socialist Workers Party, 440 U.S. 173, 184 (1979) (quoting Williams v. Rhodes, 393

U.S. 23, 30 (1968)).

        4.      Michigan’s system “creates barriers to candidate access to the . . . ballot, thereby

tending to limit the field of candidates from which voters might choose.” Bullock v. Carter, 405

U.S. 134, 143 (1972). When a state electoral regime denies “some voters the opportunity to vote

for a candidate of their choosing,” it “has a real and appreciable impact on the exercise of the

franchise.” Id. at 144. “Many potential office seekers . . . are in every practical sense precluded

from seeking the nomination of their chosen party, no matter how qualified they might be, and no

matter how broad or enthusiastic their popular support.” Id. at 143. “Not only are voters

substantially limited in their choice of candidates,” id. at 144, but that disparity falls

disproportionately on those voters who desire to elect experienced candidates. Accordingly, the



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law must be “closely scrutinized” and “found reasonably necessary to the accomplishment of

legitimate state objectives in order to pass constitutional muster.” Id.

        5.      In this way, ballot access restrictions like Michigan’s implicate the right to vote—

a right “of the most fundamental significance”—because “limiting the choices available to voters

. . . impairs the voter’s ability to express their political preferences.” Illinois State Bd. of Elections,

440 U.S. at 184.

        6.      The rights of individual voters to associate with, and vote for, the candidate of their

choice “rank among our most precious freedoms.” Williams, 393 U.S. at 30-31. “Other rights,

even the most basic, are illusory if the right to vote is undermined.” Id. at 31.

        7.      Indeed, when “potential office seekers . . . [are] precluded from seeking the

nomination of their chosen party, no matter how qualified they might be, and no matter how broad

or enthusiastic their popular support, . . . [t]he effect of this exclusionary mechanism on voters is

neither incidental nor remote.” Bullock, 405 U.S. at 143–44 (1972).

        8.      Michigan’s term limits can survive no level of scrutiny. Instead, the amendment

has proven a failed social experiment: it has decreased the experience and competency of the

legislature, decreased bipartisanship and coalition building, increased dynastic and recruitment-

based representation, and increased the influence of lobbyists and special interest groups.

        9.      Accordingly, Plaintiffs bring this action to remedy the constitutional violations

created by Michigan’s draconian term limits and to permanently enjoin those limits. They do so to

vindicate their own rights to appear on the ballot, as well as their right to themselves vote for

experienced candidates.




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                                           PARTIES

Plaintiffs

         10.   Plaintiff Roger Newman Kahn was elected to and served as a Republican member

of the Michigan House of Representatives, District 94, from January 1, 2004, through December

31, 2005. He was elected to and served as a Republican member of the Michigan Senate, District

32, from January 1, 2007, through January 1, 2015, when term limits prevented him from again

appearing on the ballot as a candidate for the Michigan Senate. But for term limits, Senator Kahn

would run for another term in the Senate. Senator Kahn was a well-regarded and effective Senator.

Among many other things, Senator Kahn helped create Michigan’s Government Efficiency

Commission, sponsored Michigan’s organ donation bill, prohibited the use of lead in children’s

toys, and banned texting while driving. He also received numerous awards for his public service,

including legislator of the year honors from multiple organizations. Senator Kahn is also a

registered Michigan voter.

         11.   Plaintiff Scott James Dianda was elected to and served as a Democrat member of

the Michigan House of Representatives, 110th District, where he served from January 1, 2013,

through January 1, 2019, when term limits prevented him from again appearing on the ballot as a

candidate for the Michigan House. But for term limits, he would again run for the Michigan House

of Representatives. Representative Dianda was an effective advocate for his constituents, dealing

with unemployment benefits, liquor licenses for small businesses, veteran affairs, Medicaid

assistance, and tax assistance. His tenure was marked by nearly 500,000 miles on the road,

traveling back and from to Lansing from the Upper Peninsula, and traversing six and a half

counties in the western Upper Peninsula. Representative Dianda is also a registered Michigan

voter.



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       12.     Plaintiff Clark Andrew Harder was elected to and served as a Democrat member of

the Michigan House of Representatives, the 87th and 85th Districts, from January 1, 1991, through

January 1, 1999, when terms limits prevented him from again appearing on the ballot as a candidate

for the Michigan House. If not for being in the first group of term-limited legislators,

Representative Harder would have run for reelection again. He had just become Chairman of the

House Appropriations Subcommittee on Transportation in his final term, a key legislative position

to directly influence policy decisions relating to transportation investments. Representative Harder

sponsored the original legislation to impose double penalties for traffic moving violations in

construction zones, school zones, and areas where emergency services workers are present; he was

instrumental in what eventually became the Proposal A school funding reform proposal; and he

played a key role in guaranteeing state funding to Greenfield Village, among other legislative

accomplishments. Representative Harder is also a registered Michigan voter.

       13.     Plaintiff Joseph H. Haveman was elected to and served as a Republican member of

the Michigan House of Representatives, the 90th District, from January 1, 2009, through January

1, 2015, when term limits prevented him from again appearing on the ballot as a candidate for the

Michigan House. After six years in office, Representative Haveman felt he had just hit his stride

and had the experience and knowledge to know how to get things done. He certainly would run

for office again but for term limits and believes that his constituents would have benefitted from

more experience and continuity. During Representative Haveman’s tenure, he secured funding for

a new airport terminal in his community and started the first Agriculture Business Incubator in

Michigan. He also helped initiate a new jail pre-release education program. Most important, he led

a paradigm shift in the Legislature toward criminal-justice reform. Representative Haveman is also

a registered Michigan voter.



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       14.     Plaintiff David E. Nathan was elected to and served as a Democrat member of the

Michigan House of Representatives, 8th District, from January 1, 2009, to January 1, 2015, when

term limits prevented him from again appearing on the ballot as a candidate for the Michigan

House. But for Michigan’s term limits, he would again run for that office. Representative Nathan

was instrumental in introducing H.R. 4844, which required insurers to deal with injured persons

in good faith, and permitted recourse against insurers for a breach of that duty. Representative

Nathan is also a registered Michigan voter.

       15.     Plaintiff Paul Edward Opsommer was elected to and served as a Republican

member of the Michigan House of Representatives, 93rd District, from January 1, 2007, to January

1, 2013, when term limits prevented him from again appearing on the ballot as a candidate for the

Michigan House. But for Michigan’s term limits, he would again run for that office. Representative

Opsommer helped enact Michigan’s Right to Work legislation, its Energy Efficiency Law, and a

reform to the Urban Cooperation Act, as well as a repeal of the former motorcycle-helmet law.

Notwithstanding those accomplishments, he felt that he left behind much work that still needs to

be finished, including improving incentives for local governments to eliminate duplicative services

and to assist adoptive families working with the Michigan Department of Health & Human

Services. Representative Opsommer is also a registered Michigan voter.

       16.     Plaintiff Douglas J. Spade was elected to and served as a Democrat member of the

Michigan House of Representatives, 57th District, from January 1, 1999, through January 1, 2005,

when term limits prevented him from again appearing on the ballot for the Michigan House. But

for Michigan’s term limits, he would again run for that office. Representative Spade had a strong

focus on constituent service, cutting through bureaucratic red tape to resolve problems for the

people and businesses he represented. Among other things, he persuaded Treasury that a local



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orchard was being improperly taxed, expedited an elderly man’s desperately needed refund, and

removed roadblocks placed unnecessarily on a local school-gym construction project. Mr. Spade

is also a registered Michigan voter.

        17.    Plaintiff Mary Hostetler Valentine was elected to and served as a Democrat member

of the Michigan House of Representatives, 91st District, from January 1, 2007, through January 1,

2011. Ms. Valentine is still eligible to run for the Michigan House for one additional two-year term

but thinks that term limits are unfair to legislators and destructive to the functioning of the

Legislature. Ms. Valentine worked to ban smoking in Michigan’s restaurants, introduced and

helped enact a law providing more stability in foster care by allowing them to continue attending

school in their home district if their foster parents would provide transportation, and helped many

constituents facing foreclosure and the denial of unemployment-insurance benefits. Ms. Valentine

is also a registered Michigan voter.

Defendant

        18.    Defendant Jocelyn Benson is the Secretary of State of Michigan (“Secretary

Benson”) and is named in her official capacity. Secretary Benson is the public official primarily

responsible for implementing and administering the state constitutional law that is the subject of

this action.

                                JURISDICTION AND VENUE

        19.    This civil rights action arises under the First and Fourteenth Amendments to the

United States Constitution and under federal law, 42 U.S.C. § 1983.

        20.    This Court is vested with original jurisdiction of this action pursuant to 28 U.S.C.

§ 1331 and 1343.




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       21.      This Court further has subject matter jurisdiction over any supplemental state law

claims pursuant to 28 U.S.C. § 1367 because they are so related to the federal claims that they

form part of the same case or controversy and derive from a common nucleus of operative facts.

       22.      Venue in this Court is proper under 28 U.S.C. § 1391, because all or substantial

part of the events or omissions giving rise to the claims herein occurred within this district and

because Defendant has an office located in Ingham County, which is in the United States District

Court, Western District for the State of Michigan.

       23.      Plaintiffs’ claims for declaratory relief are authorized by 28 U.S.C. §§ 2201 and

2202, by Rule 57 of the Federal Rules of Civil Procedure, and by the general legal and equitable

powers of this Court.

                                  FACTUAL ALLEGATIONS

             A. Article IV, Section 54 of the Michigan Constitution

       24.      In 1992, Michigan voters amended the Michigan Constitution to impose lifetime

term limits on state legislators – limiting state representatives to three, two-year terms (a total of

six years) and state senators to two, four-year terms (a total of eight years). Mich. Const. art. IV,

§ 54. These terms limits are the most restrictive in the country, combining the nation’s shortest

legislative terms with a lifetime ban.

       25.      As part of that initiative, voters also unconstitutionally attempted to impose term

limits on United States congressional seats.     The U.S. Supreme Court has already invalidated

those federal limits. U.S. Term Limits, Inc. v. Thornton, 514 U.S. 779 (1995).




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       26.       Of the 15 states that impose term limits on state legislators, Michigan’s limits are

the most restrictive. 1 For example, nine of the 15 states impose only consecutive—rather than

lifetime—limits on legislators. 2 And for the six states that impose lifetime limits, Michigan

imposes the fewest number of years for which an elected representative may serve. 3

              B. Michigan’s Term Limits Do Not Achieve Their Intended Purposes

       27.       While supporters of the amendment decried so-called “career politicians”, the

reality is that Michigan’s term limits proved not only ineffective to address that concern, but also

harmful to Michigan governance.

       28.       In 2014, Michigan’s term limits forced 34 lawmakers from office with a combined

248 years of experience, including the Senate Majority Leader, Senate Minority Leader, and House

Speakers. 4

       29.       Likewise, in 2019, Michigan’s term limits forced out of office nearly 70% of state

senators and more than 20% of state representatives. 5

       30.       Proponents of term limits posited that such sweeping change would be a positive

development—promoting less emphasis on reelection efforts, reducing the influence of lobbyists

and special interest groups, and promoting diversity and new ideas.

       31.       But research demonstrates that the proponents’ hypotheses failed.



1
  Other states have passed laws regarding term limits, but those laws have either been repealed or
struck down.        See The Term-Limited States, http://www.ncsl.org/research/about-state-
legislatures/chart-of-term-limits-states.aspx.
2
  Id.
3
  Id.
4
  Term limit turnover: Michigan losing 248 years of legislative experience this year, MLive
(Dec. 31, 2014), available at http://www.mlive.com/lansing-
news/index.ssf/2014/12/term_limit_turnover_michigan_l.html.
5
  Mass turnover fuels push for Mich. term limit reform, The Detroit News (Oct. 3, 2017), available
at https://www.detroitnews.com/story/news/politics/2017/10/03/michigan-chamber-term-limits-
reform/106253436/
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        32.    First, term limits incentivize politically-ambitious legislators to use their short

legislative experience as a kind of springboard to another office—which intensifies, not

diminishes, their focus on reelection-centric efforts. 6

        33.    Indeed, after the imposition of term limits, politically-ambitious legislators spent

more time on reelection-centric efforts—like procuring pork for their districts—and less time on

actually legislating—like studying legislation, developing new legislation, and building coalitions

across party lines. 7 Actual legislation was found to be most commonly within the purview of

experienced or veteran legislators. 8

        34.    Likewise, freshmen legislators not only spend less time post-term-limits building

bipartisan coalitions, but less time building coalitions within their own parties. 9

        35.    That lack of institutional knowledge and coalition building among inexperienced

legislators means that legislators often turn to external, rather than internal, sources for information

when voting on policy: lobbyists and special interest groups. 10

        36.    As one authority explains:

        The big change in the [Michigan] Senate is the rising importance (a 24% increase)
        of organized groups and lobbyists as trusted sources during floor votes. Nearly
        twice the proportion of post-term-limits senators turns to organized groups and
        lobbyists as their most important source compared to the proportion rating
        colleagues most important. Organized groups and lobbyists displace local sources
        as the most important ones for post-term-limits senators . . . .

                                                 ***

        Lost access for local sources is noteworthy because term limits proponents claimed
        that with limits on their tenure elected officials would be more closely tied to their
        constituents and their districts. We find no evidence of this—indeed, the changes

6
  Marjorie Sarbaugh-Thompson & Lyke Thompson, Implementing Term Limits: The Case of the
Michigan Legislature (2017), pp. 277-278 (hereinafter, “Thompson”).
7
  Id. at p. 277.
8
  Id. at p. 314.
9
  Id. at 283.
10
   Id. at p. 447.
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        we find are often in the opposite direction. The consulting patterns that evolve in
        the Senate after term limits often attenuate the ties that term limits advocates wanted
        to cultivate (local sources) and strengthen the ones they wanted to sever (organized
        groups and lobbyists). That this occurs at the expense of local sources and of
        colleagues demonstrates a shift in access and influence for key actors in Michigan’s
        policy-making process. [Id. at pp. 478-479, 492-493].

        37.         Nor do term limits promote diversity or fresh ideas.

        38.         Instead, term limits have increased a kind of dynastic representation—where

relatives of term-limited incumbents seek to capitalize on name recognition—and recruitment of

particular candidates.

        39.         For example, in 2016 alone, 13 races involved a spouse, sibling, or other relative

of a current candidate—and that was in addition to the 16 other seats already held by a former

incumbent’s family member. 11

        40.         Likewise, recruiting particular candidates—including family and staff members of

incumbents—significantly increased after the imposition of term limits. 12

        41.         And the kind of candidates recruited by party incumbents is significant. For

example, after the imposition of term limits, the Democratic Party significantly increased its

candidate recruiting efforts, and those efforts targeted white men significantly more than women

and people of color, when compared to recruiting efforts pre-term-limits. 13

        42.         Thus, “merely increasing the number of open seats does not diversify state

legislatures.” 14




11
   Jack Lessenberry, Our system of term limits in Michigan is an utter failure, Michigan Radio
(May 10, 2016), available at http://michiganradio.org/post/ our-system-term-limits-michigan-
utter-failure
12
   Supra n. 6, Thompson, p. 134.
13
   Id. at pp. 138-140.
14
   Id. at 142.
                                                    11
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       43.       In short, term limits have proved a “failed social experiment.” 15

       C.        The Particularized Harm of Term Limits on Plaintiffs

                 1.     Roger Kahn

       44.       Mr. Kahn has served the State of Michigan in several capacities. First, in 2002,

voters elected Mr. Kahn to serve as the Saginaw County Commissioner, in which position he

served until 2004.

       45.       Mr. Kahn was then elected to the state House in November 2003, and he served as

a representative from January 1, 2004 through December 31, 2005.

       46.       Mr. Kahn was then elected to the state Senate in November 2005, where he served

from January 1, 2007 until he was term-limited out of office on January 1, 2015.

       47.       During his time in the Senate, Mr. Kahn served in numerous leadership roles,

including as the Chairman of the Department of Community Health, Vice Chairman of the

Department of Human services, and Vice Chairman of the Corrections Appropriations budgets.

       48.       In those roles, Mr. Kahn successfully legislated for his constituents and the State of

Michigan.

       49.       For example, Mr. Kahn helped secure the passage of Public Act 123 of 2007, which

added Saginaw County to Healthy Kids Dental. As part of that Act, the children of Saginaw

County received an estimated $3.2 million in dental services.

       50.       Mr. Kahn also ensured the restoration of funding to the Special Needs Vision

Clinic, which provides eye care services to the underprivileged and physically and mentally

disadvantaged.



15
  Michigan Term limits a “failed social experiment,” The Detroit News (April 18, 2017), available
at http://www.detroitnews.com/story/news/politics/ 2017/04/18/meekhof-mich-term-limits-
failed-social-experiment/100599820/.
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       51.    Mr. Kahn was also instrumental in securing funding for numerous projects and

programs, including replacing the Shiawassee River Dam, construction of the Saginaw Valley

Health Science Complex, improving access to care for pregnant women, children, and seniors,

completion of the Frank N. Anderson Recreational Complex in Liberty Park, which houses a

handicapped accessible playing surface, securing funding for traumatic brain injury care and

restoring adult dental and podiatric services to Medicaid, improving portions of M57, M47, and

M81.

       52.    Notably, Mr. Kahn spearheaded an increase in Early Childhood Funding of $65

million per year for the 2014 and 2015 General Fund budget, which was the largest investment

increase in early childhood education in the nation in both of the next two years. This included

funding for a kindergarten entry assessment tool and the Quality Rating Improvement System in

daycare, ensuring that vulnerable and dependent children receive higher quality care and

education.

       53.    Mr. Kahn was also instrumental in the passage of numerous bills that made

Michigan residents safer, including Public Act 159 of 2007, which prohibits a person or company

from using or applying lead-based substances on any toy or child care article, Public Act 59 of

2010, which made it a primary offense for reading, writing, or sending a text message while

driving, Public Act 23 of 2010, which requires hospitals to establish a seasonal influenza

immunization policy, including procedures for identifying and offering the vaccine to at-risk

individuals, Public Act 153 of 2011, which created a statewide firefighter training program for

high school students, and Public Act 107 of 2013, which provided access to health care for over

400,000 previously uninsured Michigan residents.




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       54.     And Mr. Kahn’s efficacy as a Senator only increased as his experience increased.

During his second term, and as Chairman of the Senate Appropriations Committee, Michigan’s

budgets were passed and signed into law for four consecutive years by June, the first time that the

state budget was timely passed for four consecutive years since approximately 1990.

       55.     Even in his short time in office, Mr. Kahn’s service earned him statewide

recognition, including receiving the Michigan Non Profit Champion Award in 2014, Heroes of

Breast Cancer Leadership Award—Karmanos Cancer Institute 2013, Senator of the Year by MIRS

News 2012, Michigan Association of Community Mental Health 2011, Michigan Association of

Local Public Health 2011, Action Award from Elder Law of Michigan 2011, Heroes for

Michigan’s Children Seasoned Advocate Award 2009, Legislator of the Year—Michigan Council

for Maternal and Child Health, Legislator of the Year—Fraternal Order of Police 2008, and being

named the Best Committee Chairman in 2014.

       56.     But for Michigan’s term limits, Mr. Kahn would have run for a third term in the

state Senate and believes his constituents would have benefitted from his experience and

continuity. If allowed to run again, he would emphasize that the diminishment of legislator

experience and increase of power among lobbyists and bureaucrats has been harmful to Michigan’s

government.

       57.     Mr. Kahn has also lost the ability to vote for term-limited candidates in the districts

where he lives. If Michigan’s term limits are invalidated, he would favor candidates with

significant legislative experience because their election would minimize the power of lobbyists

and bureaucrats.

               2.     Scott Dianda




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        58.    Mr. Scott Dianda was elected to the state House as representative for the 110th

District in November 2012, where he served until he was term-limited out of office on January 1,

2019.

        59.    While most Michigan citizens may believe that being a legislator entails drafting

and passing legislation, the duties of being a state legislator requires so much more. Mr. Dianda’s

proudest moments as state representative came from his ability to help his constituents navigate

their government and to provide assistance during times of crisis.

        60.    During Mr. Dianda’s tenure, the bulk of his constituent case load dealt with

unemployment benefits, liquor licenses for small businesses, veteran affairs, Medicaid assistance,

and tax assistance. Constituents would often correspond with his office whether in Lansing or in-

district seeking help on their issues that seemed to be going nowhere with various departments and

in most instances, his office could provide assistance and resolve most cases successfully.

        61.    Mr. Dianda also helped his constituents through times of crisis. This includes

everything from natural disasters, economic travesties, and other dangerous situations. In

particular, he helped lead on a propane shortage crisis and a natural gas line break during the winter

and major flooding in Houghton County. His experiences and contacts with local, state, and

national leaders came together during these times of crisis to help his constituents were invaluable.

        62.     Mr. Dianda’s time serving in the Michigan Legislature was marked by nearly

500,000 miles on the road, traveling back and forth to Lansing from the Upper Peninsula, and

traversing six and a half counties in the western UP.

        63.    But for Michigan’s term limits, Mr. Dianda would have run for an additional term

in the state House and believes his constituents would have benefitted from his experience and

continuity. If allowed to run again, he would emphasize that the diminishment of legislator



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experience and increase of power among lobbyists and bureaucrats has been harmful to Michigan’s

government.

       64.     Mr. Dianda has also lost the ability to vote for term-limited candidates in the

districts where he lives. If Michigan’s term limits are invalidated, he would favor candidates with

significant legislative experience because their election would minimize the power of lobbyists

and bureaucrats.

               3.      Clark Harder

       65.     Mr. Clark Harder was elected to the state House as representative for the 87th

district in November 1990, where he served from January 1, 1991, through January 1, 1993. Mr.

harder was elected to the state House as representative of the 85th district in November 1992,

where he served from January 1, 1993, through January 1, 1999, until term-limited out of office.

       66.     If not for being in the first group of term-limited legislators, Mr. Harder would have

run for reelection in 1998. He had just become Chairman of the House Appropriations

Subcommittee on Transportation in his final term of 1997-98, and this was a key legislative

position that appealed to his personal interests and afforded him an excellent oversight opportunity

to benefit his constituents who had placed their trust in him in four elections. He was in a position

to directly influence policy decisions relating to transportation investments that had, and would

have continued, to benefit his district as well as the entire state of Michigan.

       67.     Mr. Harder was the sponsor of the legislation to increase the state gasoline tax by

4 cents in 1997, the only tax increase during the Engler Administration years, which lead to

expanded investment in Michigan’s transportation infrastructure.

       68.     Mr. Harder sponsored the original legislation that became law to impose double

penalties for traffic moving violations in construction zones, school zones and areas where

emergency services workers are present.
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       69.      Mr. Harder was the sponsor, in 1990, of the original legislation which later became

the cornerstone of Proposal A for school funding reform.

       70.      As Co-Chair of the Public Retirement Committee, during the two years of dual-

party House control, Mr. Harder lad the House effort to oppose the discontinuation of the “Defined

Benefit” retirement plan for state employees, and reductions to public employee pension funds.

       71.      As Chairman of the Appropriations Subcommittee on Transportation, Mr. Harder

opposed privatization of Michigan’s state’s highway maintenance and called on MDOT to provide

detailed reports on the road maintenance schedules for all state and interstate highways. He was

also instrumental in guaranteeing state funding to Greenfield Village for the restoration of the

Marshall Roundhouse as an operating historic building as part of the Village’s railroad; while also

working to identify and fund the current Amtrak station at Greenfield Village and the Henry Ford

where thousands of tourists and school children every year learn more about Michigan’s

transportation history.

       72.     As ranking Democrat of the House Higher Education Committee, Mr. Harder led

the effort at negotiating more stringent rules for university presidential searches, including

allowing for certain aspects of searches to be done in closed sessions, thus helping to guarantee

that our institutions of higher education have the opportunity to draw upon the best qualified

candidates

       73.     And, though not passed into law, Mr. Harder was also proud to sponsor legislation

to require that Michigan History be included in the state’s high school curriculum requirements,

and he sponsored the first legislation to require that concert promoters be required to acknowledge

when an event billing for a popular artist was not the original performer.




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       74.     But for Michigan’s term limits, Mr. Harder would have run for an additional term

in the state House and believes his constituents would have benefitted from his experience and

continuity. If allowed to run again, he would emphasize that the diminishment of legislator

experience and increase of power among lobbyists and bureaucrats has been harmful to Michigan’s

government.

       75.     Mr. Harder has also lost the ability to vote for term-limited candidates in the

districts where he lives. If Michigan’s term limits are invalidated, he would favor candidates with

significant legislative experience because their election would minimize the power of lobbyists

and bureaucrats.

               4.      Joseph Haveman

       76.     Mr. Haveman was elected to the state House as representative for the 90th District

from January 2, 2009 until December 31, 2014, when he was term-limited out of office.

       77.     After six years, Mr. Haveman felt he had just hit his stride in the legislature,

accompanied with the knowledge, experience, and relationships to successfully perform his role.

       78.     During his terms, Mr. Haveman served several important roles, from serving as the

Chairman of the House Appropriations Committee for two years and acting as a member of the

leadership team for four years.

       79.     Mr. Haveman also succeeded for his constituents. During his last term, he helped

secure funding for a new airport terminal in his community, as well as started the first Agriculture

Business Incubator.

       80.     Mr. Haveman was also instrumental in beginning to lead the paradigm shift in the

Republican Party with respect to justice reform. He assisted in beginning a new jail pre-release

education program, called Exit in Muskegon, and began to observe how policies of past decades

resulted in an expensive and unsustainable justice system.        Mr. Haveman was not able to
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accomplish justice reform in his short time in office, but believes that, with additional terms, he

could have aided in positive policy changes.

       81.     But for Michigan’s term limits, Mr. Haveman would have run for state House again,

and believes his constituents would have benefitted from his experience and continuity. If allowed

to run again, he would emphasize that the diminishment of legislator experience and increase of

power among lobbyists and bureaucrats has been harmful to Michigan’s government.

       82.     Mr. Haveman has also lost the ability to vote for term-limited candidates in the

districts where he lives. If Michigan’s term limits are invalidated, he would favor candidates with

significant legislative experience because their election would minimize the power of lobbyists

and bureaucrats.

               5.     David E. Nathan

       83.     Mr. Nathan was elected to the state House as representative for the 8th District in

November 2008, where he served until he was term-limited out of office on January 1, 2016.

       84.     During his terms, Mr. Nathan was instrumental in seeking to protect Michigan’s

injured insured from unscrupulous practices.

       85.     Specifically, Mr. Nathan introduced and aided in securing the passage in the House

of Representatives of H.R. 4844.

       86.     H.R. 4844 imposed a duty on insurers to deal with injured persons in good faith,

and permitted injured persons to sue insurers who violated that duty for compensatory,

consequential, and punitive damages.

       87.     But for Michigan’s term limits, Mr. Nathan would have run for state House again,

and believes his constituents would have benefitted from his experience and continuity. If allowed

to run again, he would emphasize that the diminishment of legislator experience and increase of

power among lobbyists and bureaucrats has been harmful to Michigan’s government.
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       88.     Mr. Nathan has also lost the ability to vote for term-limited candidates in the

districts where he lives. If Michigan’s term limits are invalidated, he would favor candidates with

significant legislative experience because their election would minimize the power of lobbyists

and bureaucrats.

               6.     Paul Opsommer

       89.     Mr. Opsommer was elected to the state House as representative for the 93rd District

in November 2006, where he served until he was term-limited out of office on January 1, 2013.

       90.     During his time as a Representative, Mr. Opsommer was instrumental in several

key pieces of legislation, including PA 349 of 2012, which established Michigan as a right-to-

work state and prohibited mandatory participation in a collective bargaining agreement as a

condition of employment

       91.     Mr. Opsommer also played a key role in the enactment of PA 242 of 2009, which

provided funding to public and private entities for efficiency and renewable energy projects.

       92.     Upon being term-limited out of office, Mr. Opsommer still believed there was much

work to be finished, including improving incentives for cities and townships to combine services,

assisting the city of St. Johns as it worked toward establishing a Fire Authority with surrounding

townships, improving transit agency services, and assisting numerous adoptive families who were

unhappy with the services provided by DHHS.

       93.     But for Michigan’s term limits, Mr. Opsommer would have run for state House

again, and believes his constituents would have benefitted from his experience and continuity. If

allowed to run again, he would emphasize that the diminishment of legislator experience and

increase of power among lobbyists and bureaucrats has been harmful to Michigan’s government.

       94.     Mr. Opsommer has also lost the ability to vote for term-limited candidates in the

districts where he lives. If Michigan’s term limits are invalidated, he would favor candidates with
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significant legislative experience because their election would minimize the power of lobbyists

and bureaucrats.

                   7. Douglas Spade

       95.     Douglas Spade was elected to the state House as representative for the 57th District

from January 1, 1999, until January 1, 2005, when he was term-limited out of office.

       96.     During his time as an elected representative, Mr. Spade placed particular emphasis

on constituent needs.

       97.     For example, Mr. Spade ensured that the state Treasury acknowledge that a local

orchard was improperly taxed, expedited an elderly constituent’s much-needed refund, and

removed unnecessary roadblocks to the construction of a new school gym.

       98.     But for Michigan’s term limits, Mr. Spade would have run for state House again,

and believes his constituents would have benefitted from his experience and continuity. If allowed

to run again, he would emphasize that the diminishment of legislator experience and increase of

power among lobbyists and bureaucrats has been harmful to Michigan’s government.

       99.     Mr. Spade has also lost the ability to vote for term-limited candidates in the districts

where he lives. If Michigan’s term limits are invalidated, he would favor candidates with

significant legislative experience because their election would minimize the power of lobbyists

and bureaucrats.

                   8. Mary Valentine

       100.    Ms. Valentine was elected to the state House as representative for the 91st District

in November 2006, where she served until January 1, 2011. Although Ms. Valentine was not term

limited, she believes that Michigan’s term limits are unfair to legislators and destructive to good

government in Michigan.



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       101.       Ms. Valentine voted and worked for the legislation that banned smoking in

restaurants, which has saved many lives and will save many lives in the years to come. She was

part of a group that worked with her caucus to assure that legislation was brought up for a vote.

       102.       Ms. Valentine was proud of her work as chair of Family and Children services.

One bill she introduced and passed into law provided more stability to children in foster care by

allowing them to continue in their home school district if their foster parents would provide

transportation.

       103.       Regarding constituent services, Ms. Valentine worked to keep citizens in their

homes when they faced foreclosure.              Additionally, she helped several people receive

unemployment insurance when they were denied it unfairly and unlawfully. When the prison did

not re-evaluate an inmate, Ms. Valentine worked to assure that person received an updated

evaluation, according to their legal rights. Ms. Valentine helped a constituent work with their

insurance company to assure they received a ramp to which they were entitled to for their severely

injured child.

       104.       Ms. Valentine was very proud of her staff for working diligently and successfully

with constituents in our district, including putting a woman whose home was a shamble in touch

with a realty company to do a complete remake of her home. Her staff also resolved many thorny

issues by listening carefully to and working with constituents.

       105.       Ms. Valentine also helped a group of students come to Lansing to advocate for the

Michigan Promise; they were able to talk to all of the leaders at that time, helping them gain

confidence to work with legislators in the future.

       106.       Ms. Valentine has lost the ability to vote for term-limited candidates in the districts

where she lives. If Michigan’s term limits are invalidated, she would favor candidates with



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significant legislative experience because their election would minimize the power of lobbyists

and bureaucrats.

                                    COUNT I
              VIOLATION OF THE FIRST AND FOURTEENTH AMENDMENTS
                                (BALLOT ACCESS)

    107.        Plaintiffs incorporate by reference the above paragraphs as if fully set forth herein.

    108.        The First and Fourteenth Amendments to the United States Constitution guarantee

the freedom to join together in furtherance of common political beliefs, commonly referred to as

the freedom of association, and also protect the expression of that association—including the

selection of a candidate of one’s choice.

    109.        Where, as here, a law interferes with the ability of both individuals and political

parties to select the candidate of their choice, it imposes a severe restriction on ballot access such

that the law must survive strict scrutiny review. Ill. State Bd. of Elections, 440 U.S. at 184.

    110.        Accordingly, the law must be narrowly drawn to advance a state interest of

compelling importance. Burdick v. Takushi, 504 U.S. 428, 434 (1982).

    111.        But even if a law imposes a lesser burden, the Court must assess whether alternative

methods would advance the proffered governmental interests.

    112.        Mich. Const. 1963, art. IV, § 54 cannot satisfy any level of scrutiny.

    113.        Michigan’s term limits do no serve a compelling state interest and are not narrowly

tailored to achieve that interest, nor do they satisfy any lower level of scrutiny—as evidenced by

the numerous states that have imposed less-restrictive limitations.

    114.        In fact, Michigan’s term limits have proven not to serve the proffered interests at

all—and actually result in exacerbation of the concerns that term limits were purportedly supposed

to redress.



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   115.        Nor can the savings clause contained in Mich. Const. 1963, art. IV, § 54 save the

amendment.

   116.        The savings clause applies only to § 54: “If any part of this section is held to be

invalid or unconstitutional, the remaining parts of this section shall not be affected but will remain

in full force and effect.” Id. (emphasis added).

   117.        A savings clause cannot resuscitate an unconstitutional amendment, particularly

where, as here, there would be nothing left. The entire purpose of § 54 is to impose term limits on

State representatives and senators and, if those limits are struck down, as they should be, there are

no “remaining parts of [§ 54].”

                                 COUNT II
           VIOLATION OF THE FIRST AND FOURTEENTH AMENDMENTS
                        (FREEDOM OF ASSOCIATION)

   118.        Plaintiffs incorporate by reference the above paragraphs as if fully set forth herein.

   119.        The rights of individual voters to associate with, and vote for, the candidate of their

choice “rank among our most precious freedoms.” Williams, 393 U.S. at 30-31. “Other rights,

even the most basic, are illusory if the right to vote is undermined.” Id. at 31.

   120.        Indeed, when “potential office seekers . . . [are] precluded from seeking the

nomination of their chosen party, no matter how qualified they might be, and no matter how broad

or enthusiastic their popular support, . . . [t]he effect of this exclusionary mechanism on voters is

neither incidental nor remote.” Bullock, 405 U.S. at 143-144.

   121.        Mich. Const. 1963, art. IV, § 54 denies voters the opportunity to participate on an

equal basis with other voters in the election of their choice of representative, and denies such voters

the ability support an entire class of candidates—experienced legislators.

   122.        Mich. Const. 1963, art. IV, § 54 further imposes a content-based restriction on

which candidates voters may support. A majority determined that a single trait—legislative
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experience—is so undesirable that all candidates who share that trait should be barred, and all

voters wishing to support such candidates prohibited from doing so.

   123.        The premises on which Mich. Const. 1963, art. IV, § 54 are based have proven

hollow. Michigan’s term limits have decreased the experience and competency of the legislature,

decreased bipartisanship and coalition building, increased dynastic and recruitment-based

representation, and increased the influence of lobbyists and special interest groups.

   124.        That Michigan voters crave experienced legislators is no more evident than voters’

tendency to elect family members of term-limited incumbents.

   125.        As set forth herein, the First and Fourteenth Amendments to the United States

Constitution guarantee the freedom to joint together in furtherance of common political beliefs,

commonly referred to as the freedom of association, and also protect the expression of that

association—including the selection of a candidate of one’s choice.

   126.        Where, as here, a law interferes with the ability of both individuals and political

parties to select the candidate of their choice, it imposes a severe restriction on ballot access such

that the law must survive strict scrutiny review. Ill. State Bd. of Elections, 440 U.S. at 184.

   127.        Accordingly, the law must be narrowly drawn to advance a state interest of

compelling importance. Burdick, 504 U.S. at 434.

   128.        But even if a law imposes a lesser burden, the Court must assess whether alternative

methods would advance the proffered governmental interests.

   129.        Mich. Const. 1963, art. IV, § 54 cannot satisfy any level of scrutiny.

   130.        Michigan’s term limits do no serve a compelling state interest and are not narrowly

tailored to achieve that interest, nor do they satisfy any lower level of scrutiny—as evidenced by

the numerous states that have imposed less-restrictive limitations.



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   131.        In fact, Michigan’s term limits have proven not to serve the proffered interests at

all—and actually result in exacerbation of the stated concerns.

   132.        Nor can the savings clause contained in Mich. Const. 1963, art. IV, § 54 save the

amendment.

   133.        The savings clause applies only to § 54: “If any part of this section is held to be

invalid or unconstitutional, the remaining parts of this section shall not be affected but will remain

in full force and effect.” Id. (emphasis added).

   134.        A savings clause cannot resuscitate an unconstitutional amendment, particularly

where, as here, there would be nothing left. The entire purpose of § 54 is to impose term limits on

State representatives and senators and, if those limits are struck down, as they should be, there are

no “remaining parts of [§ 54].”

                                    COUNT III
                       VIOLATION OF THE GUARANTEE CLAUSE

   135.        Plaintiffs incorporate by reference the above paragraphs as if fully set forth herein.

   136.        Article IV, section 4 of the United States Constitution provides that “The United

States shall guarantee to every State in this Union a Republican form of government.”

   137.        The United States Supreme Court has recognized that some claims under the

Guarantee Clause present nonjusticiable questions. New York v. United States, 505 U.S. 144, 185

(1992). But “the Court has suggested that perhaps not all claims under the Guarantee Clause

present nonjusticiable political questions,” and “[c]ontemporary commentators have . . . suggested

that courts should address the merits of such claims, at least in such circumstances.” Id. at 185

(citing L. Tribe, American Constitutional Law 398 (2d ed. 1988), J. Ely, Democracy and Distrust:

A Theory of Judicial Review 118 & nn. 122–23 (1980), and W. Wiecek, The Guarantee Clause of

the U.S. Constitution 287–89, 300 (1972), among others).


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      138.      Here, Michigan’s term limits have created a less professional, less organized, and

less competent Legislature. As authorities recognize, “term limits strip legislatures of experience

and expertise, partially deinstitutionalizing them.” 16 And in states with less professional

legislatures, lobbyists are a more prominent source of information—as research has demonstrated

is the case since Michigan imposed term limits.17

      139.      Accordingly, by destabilizing and deinstutionalizing Michigan’s Legislature, Mich.

Const. 1963 art. IV, § 54 violates the right to a republican form of government, as guaranteed by

the United States Constitution.

      140.      Nor can the savings clause contained in Mich. Const. 1963, art. IV, § 54 save the

amendment.

      141.      The savings clause applies only to § 54: “If any part of this section is held to be

invalid or unconstitutional, the remaining parts of this section shall not be affected but will remain

in full force and effect.” Id. (emphasis added).

      142.      A savings clause cannot resuscitate an unconstitutional amendment, particularly

where, as here, there would be nothing left. The entire purpose of § 54 is to impose term limits on

State representatives and senators and, if those limits are struck down, as they should be, there are

no “remaining parts of [§ 54].”

                                    COUNT IV
                     VIOLATION OF MICH. CONST. 1963, ART. IV, § 24

      143.      Plaintiffs incorporate by reference the above paragraphs as if fully set forth herein.

      144.      Mich. Const. 196, art. IV, § 24 provides that “[n]o law shall embrace more than one

object, which shall be expressed in its title.”



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     Supra n.6, Thompson, p. 444.
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     Id.
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   145.        When Proposal B was placed on the ballot, it was entitled the “Michigan State

Office Amendment.”

   146.        Notwithstanding, Proposal B expanded beyond State offices to include federal

congressional offices.

   147.        Moreover, it is well-settled that State constitutional amendments with respect to

state and federal offices are subject to different analyses. See, e.g. Thornton, 514 U.S. 779.

   148.        Thus, Proposal B both (1) embraced more than a single object—i.e., state

congressional term limits and federal congressional term limits, and (2) failed to express the object

of the amendment in its title—i.e., described the amendment as only relating to “Michigan State

Office,” when it, in fact, applied to federal congressional offices.

                                   COUNT V
                    VIOLATION OF MICH. CONST. 1963, ART. XII, § 2

   149.        Plaintiffs incorporate by reference the above paragraphs as if fully set forth herein.

   150.        Mich. Const. 1963, art. XII, § 2 provides that ballot language for an amendment to

the Constitution “shall consist of a true and impartial statement of the purpose of the amendment

in such language as shall create no prejudice for or against the proposed amendment.”

   151.        When Proposal B was placed on the ballot, it contained the following savings

clause: “If any part of this section is held to be invalid or unconstitutional, the remaining parts of

this section shall not be affected but will remain in full force and effect.”

   152.        The effect of including a savings clause renders Proposal B unconstitutional

because including this language creates a prejudice for passing the amendment as voters will likely

vote “yes” even if concerns about whether the proposed amendments are unconstitutional exist.

   153.        Moreover, such language encourages the inclusion of publicly popular

amendments, even knowing such amendment is unconstitutional, with other less popular


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amendments so that the proposal received a majority of votes, and the inclusion of the savings

clause will allow the remainder of the less popular amendments to remain in effect.

       WHEREFORE, Plaintiffs ask this Court to enter judgment in their favor and award (1) a

declaratory judgment that Mich. Const. 1963 art. IV, § 54 violates the First and Fourteenth

Amendments of the United States Constitution and the Guarantee Clause, Article IV, section 4 of

the United States Constitution, (2) a declaratory judgment that Mich. Const. 1963, art. IV, § 54

violates Mich. Const., art. IV, § 24 and art. XII, §2, (3) a permanent injunction prohibiting the

Michigan Secretary of State from enforcing Mich. Const. 1963 art. IV, § 54; (4) Plaintiffs’

reasonable costs and expenses, including attorneys’ fees; and (5) any other relief the Court deems

just and proper.



Dated: November 20, 2019                            Respectfully submitted,

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